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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                      Crim. Action No.: 2:20CR23-1
                                                             (Judge Kleeh)

 JESSE DAVID TOLSON,

                      Defendant.

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 69],
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On   December      9,   2020,   the   Defendant,     Jesse    David   Tolson

 (“Tolson”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Five of the Indictment, charging him with Possession with Intent

 to Distribute at Least Fifty Grams of Methamphetamine, in violation

 of    Title    21,    United    States      Code,   Sections       841(a)(1)   and

 841(b)(1)(A)(viii). This Court referred Defendant’s plea of guilty

 to the magistrate judge for the purpose of administering the

 allocution, pursuant to Federal Rule of Criminal Procedure 11,

 making     a   finding   as    to   whether   the   plea   was     knowingly   and

 voluntarily entered, and recommending to this Court whether the

 plea should be accepted. Tolson stated that he understood that the

 magistrate judge is not a United States District Judge, and Tolson

 consented to pleading before the magistrate judge.
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       Based upon Defendant Tolson’s statements during the plea

 hearing   and    the   Government’s       proffer   establishing   that   an

 independent factual basis for the plea existed, the magistrate

 judge found that Defendant Tolson was competent to enter a plea,

 that the plea was freely and voluntarily given, that he was aware

 of the nature of the charges against him and the consequences of

 his plea, and that a factual basis existed for the tendered plea.

 The magistrate judge issued a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 69] finding a

 factual basis for the plea and recommending that this Court accept

 Defendant Tolson’s plea of guilty to Count Five of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.        He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.            Neither the Defendant

 nor the Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 69], provisionally ACCEPTS Defendant Tolson’s guilty

 plea, and ADJUDGES him GUILTY of the crime charged in Count Five

 of the Indictment.

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       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.    The Probation Officer shall undertake a presentence

 investigation of Tolson, and prepare a presentence investigation

 report for the Court;

       2.    The Government and Defendant Tolson shall each provide

 their narrative descriptions of the offense to the Probation

 Officer by January 21, 2020;

       3.    The presentence investigation report shall be disclosed

 to Defendant Tolson, counsel for Defendant, and the Government on

 or before March 24, 2021; however, the Probation Officer shall not

 disclose any sentencing recommendations made pursuant to Fed. R.

 Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 investigation report on or before April 7, 2021;




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       5.    The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before April

 19, 2021; and

       6.    Counsel may file any written sentencing memorandum or

 statements      and    motions     for     departure   from     the     Sentencing

 Guidelines, including the factual basis for the same, on or before

 April 26, 2021.

       The magistrate judge remanded Defendant to the custody of the

 United States Marshals Service.

       The Court will conduct the Sentencing Hearing for Defendant

 on May 24, 2021, at 10:30 A.M., at the Elkins, West Virginia point

 of holding court.        If      counsel       anticipates     having     multiple

 witnesses    or   an   otherwise     lengthy      sentencing    hearing,    please

 notify the Judge’s chamber staff so that an adequate amount of

 time can be scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: January 11, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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